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10
                            UNITED STATES DISTRICT COURT
11
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,               No. CR 17-574-ODW
13
               Plaintiff,                    GOVERNMENT’S SENTENCING POSITION
14                                           FOR DEFENDANT SHAWN LEE
                     v.
15
     SHAWN NAOLU LEE,
16
               Defendant.
17

18

19         Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21
     California and Assistant United States Attorneys Erik M. Silber and
22
     Amanda M. Bettinelli, hereby provides its sentencing position.
23
           This sentencing position is based on the attached memorandum of
24
     ///
25

26   ///

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1    points and authorities, the Presentence Report (“PSR”), and the file
2    and records in this case.
3
     Dated: July 9, 2018                 NICOLA T. HANNA
4                                        United States Attorney
5                                        LAWRENCE S. MIDDLETON
                                         Assistant United States Attorney
6                                        Chief, Criminal Division
7
                                               /s/
8                                        ERIK M. SILBER
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11                                       UNITED STATES OF AMERICA
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1                       MEMORANDUM OF POINTS AND AUTHORITIES
2      A. GUIDELINE CALCULATION
3
          The Probation Office identifies that defendant Shawn Lee
4
     (“defendant”) has a Guideline range of 6-12 months in prison based on
5
     a total offense level of 10 and a criminal history category of I.
6
     (PSR Guideline Summary.)     The offense level is based on: (1) a base
7

8    offense level of six under USSG § 2Q2.1(a); (2) a two-level

9    enhancement because defendant committed the offense for pecuniary

10   gain or for a commercial purpose, USSG § 2Q2.1(b)(1)(A); (3) a four-
11   level enhancement because the fish were protected under Convention on
12
     International Trade in Endangered Species of Wild Fauna and Flora
13
     (“CITES”) Appendix I, USSG §§ 2Q2.1(b)(3)(B); and (4) a two-level
14
     reduction for acceptance of responsibility under USSG § 3E1.1.            (PSR
15

16   ¶¶ 27-38.)   The government agrees with those offense-level

17   calculations.    The base offense level and enhancements were all

18   agreed to by the parties on page eight of the plea agreement.
19     B. RECOMMENDED SENTENCE OF THREE-YEARS PROBATION, WITH THE FIRST
20
          SIX MONTHS ON HOUSE ARREST
21
          In its recommendation letter, the Probation Office recommends a
22
     sentence of a three-year term of probation, with six months spent on
23
     house arrest.    (Recommendation Letter 1-2.)       The parties in the plea
24

25   agreement agreed to jointly recommend that sentence (Plea Agreement

26   pages 2, 3) and the government believes that that is the appropriate

27   sentence here taking into account the 18 U.S.C. § 3553(a) factors.
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                                            1
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1         There are aggravating facts in this case.         Defendant smuggled
2    eight Asian arowana fish into the United States, fish that receive
3
     the highest level of protection under CITES because of the risk of
4
     extinction that those animals face.        There are also mitigating facts:
5
     (1) Defendant smuggled wildlife into the United States only once;
6
     (2) defendant’s has done well on pretrial release and has maintained
7

8    steady employment during that time (PSR ¶ 64); and (3) defendant has

9    had traumatic events in his past which may have contributed to his

10   criminal conduct, including being abused by his father, having being
11   shot in the face by a pellet gun in 1984, and being born with a
12
     congenital heart condition, which required surgery (PSR ¶¶ 55,
13
     60(a)&(b).   Balancing the aggravating and mitigating facts together,
14
     the government believes that a three-year term of probation, with the
15

16   first six months spent on house arrest, is sufficient to provide just

17   punishment and to protect the public from future crimes by defendant,

18   18 U.S.C. §§ 3553(a)(2)(A),(a)(2)(C).        Indeed, defendant’s ability to
19   perform well on pretrial release suggest that he can do the same on
20
     probation, making a three-year term of probation, with the first six
21
     months spent on house arrest, an appropriate and potentially
22
     effective sentence here.     Moreover, although defendant had trouble
23
     with the law in 2006-2007 (PSR ¶¶ 43, 44, 47), there is no evidence
24

25   of criminal conduct by defendant from 2007 until the instant office

26   in 2017.   That past decade of lawful conduct suggest that probation

27   (with six months of house arrest), rather that prison, can serve as
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                                            2
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1    an effective deterrent to defendant and effectively protect the
2    public from future crimes by him.       The government thus agrees with
3
     the Probation Office and recommends that the Court impose a three-
4
     year term of probation, with the first six months spent on house
5
     arrest.
6
       C. FORFEITURE
7

8      As identified on page seven of the plea agreement, the government

9    asks the Court to forfeit the eight Asian arowana fish that defendant

10   smuggled into the United States, as well as the $15,370 of cash found
11   in defendant’s residence during the search.
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